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GOVERNMENT'S
EXHIBIT NO. i

   
    
  
 
   
   

 

ENO) OP OR 34

United States of America

 

VS,
Javier Sanchez Mendoza, Jr.

MARKED FOR IDENTIFICATION

(\Zo\L

FILED IN EVIDENCE

WAbbacZw)

JOHN E. TRIPLETT, CLERK OF COURT

 

 
el me esta amenazando
en matar a mi familia en
mexico y el me quiere
tener con el a la fuerza
no quiero que el me haga
dano

4)

he is threatening me to kill my
family in mexico and he wants
to have me with him by force |
don't want him to hurt me

4)

 
